               Case 2:16-cr-00224-DAD Document 46 Filed 03/20/18 Page 1 of 2


 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     455 Capitol Mall, Suite 802
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     ZACHERY BASTIEN
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:16-CR-224 JAM
12
                    Plaintiff,
13
     vs.                                                WAIVER OF PERSONAL APPEARANCE
14                                                      AND ORDER
15   ZACHERY JOSEPH BASTIEN,

16                  Defendant.
17

18

19

20

21          Zachery Bastien, defendant in the above-entitled action, hereby waives his right to be

22   present in open court as provided in Rule 43 of the Federal Rules of Criminal Procedure for any
23
     status conference or motion hearing in this matter. The appearance waiver includes any
24
     appearance involving a continuance either before or after trial, including a hearing at which a
25
     trial date is selected. The waiver does not extend to arraignment, entry of plea, change of plea,
26

27   or any trial stage from impanelling a jury to verdict, nor does it apply to imposition of sentence.

28   WAIVER OF APPEARANCE
               Case 2:16-cr-00224-DAD Document 46 Filed 03/20/18 Page 2 of 2


 1          The defendant requests that the Court proceed during every permitted absence as set out
 2
     in the preceding paragraph. Defendant agrees that his interests will be deemed represented at all
 3
     times by the presence of his attorney in the same manner as if he were personally present in court.
 4
     He further agrees that he will be present in court and ready for trial of the matter on any day or
 5

 6   hour that the Court may fix in his absence.

 7          Defendant acknowledges that he has been informed of his rights under the Speedy Trial
 8
     Act (Title 18, United States Code, Sections 3161-3174). Defendant expressly authorizes his
 9
     attorney to set dates, including permissible delays and continuances pursuant to the Speedy Trial
10
     Act, without the requirement of his being personally present.
11

12   DATED: March 19, 2018
                                                           By      /s/ Zachery Bastien
13                                                                 ZACHERY BASTIEN
                                                                   Defendant
14
                                                                   (Original Form Retained by Counsel)
15

16          I agree with and consent to Defendant Zachery Bastien’s waiver of personal appearance
17
     at future proceedings.
18

19   DATED: March 19, 2018
                                                           By      /s/ Todd D. Leras
20
                                                                   TODD D. LERAS
21                                                                 Attorney for Defendant
                                                                   ZACHERY BASTIEN
22
     IT IS SO ORDERED.
23

24   Dated: March 20, 2018
                                                   /s/ John A. Mendez_______________________
25                                                 JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
26

27

28   WAIVER OF APPEARANCE
